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 5
     ATTORNEY FOR DEFENDANT
 6   CHARLES ALEXANDER
 7
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                        EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,              )       NO. 12-cr-00221–MCE
                                            )
11         PLAINTIFF,                       )       STIPULATION AND ORDER
                                            )       CONTINUING THE CASE
12         v.                               )       TO THURSDAY, SEPTEMBER 5, 2013
                                            )
13   CHARLES ALEXANDER, et al.,             )
                                            )
14                                          )
          DEFENDANTS.                       )
15   ______________________________)
16         The parties to this litigation, the Unites States of America, represented by
17   Assistant United States Attorney, Mr. Paul Hemesath., and defendant, Charles
18   Alexander, represented by attorney, Mr. James R. Greiner, hereby agree and stipulate
19   that the appeal from the Magistrate ruling on detention can be continued to Thursday,
20   September 5, 2013, at 9:00 a.m. in Courtroom #7, on the 14th Floor, before the
21   Honorable Chief United States District Court Judge Morrison C. England, Jr., and
22   the current date set for Thursday, August 8, 2013 can be vacated.
23         Further, all of the parties, the United States of America and the defendant
24   Charles Alexander agree and stipulate that time under the Speedy Trial Act can be
25   excluded under Title 18 section 3161(h)(7)(B)(iv), corresponding Local Code T-4,
26   which corresponds to Title 18 section 3161(h)(7)(A) (to allow counsel time to
27   prepare) from Thursday, August 29, 2013 to through and including, Thursday,
28   September 5, 2013, to allow for the hearing of the appeal of the Magistrates ruling on
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 1   detention.
 2                EXCLUSION OF TIME UNDER THE SPEEDY TRIAL ACT
 3         Time has already been excluded by this Court up to and including August 29,
 4   2013, at the status conference hearing held on May 30, 2013, see docket # 35. August
 5   29, 2013 is a status conference.
 6         Time can be excluded from Thursday, August 29, 2013 to Thursday, September
 7   5, 2013, based on a pending motion of appeal of the Magistrate detention ruling,
 8   which is Local Code E.
 9         Therefore, pursuant to both Title 18 U.S.C. section 3161 (h)(d), which
10   corresponds to Local E and (h)(7)(b)(iv) which corresponds to Local Code T-4, time
11   is agreed to be excluded from Thursday, August 29, 2013 to through and including
12   Thursday, September 5, 2013.
13         The respective parties have authorized James R. Greiner to sign this stipulation.
14
15                                      Respectfully submitted,
                                        BENJAMIN WAGNER
16                                      UNITED STATES ATTORNEY
17                                      /s/ Paul Hemesath
     DATED: 8-2-13                      _____________________________________
18
                                        Paul Hemesath
19                                      ASSISTANT UNITED STATES ATTORNEY
                                        ATTORNEY FOR THE PLAINTIFF
20
     DATED: 8-2-13                      /s/ James R. Greiner
21                                      ___________________________________
                                        James R. Greiner
22                                      Attorney for Defendant
                                        Charles Alexander
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 1                                            ORDER
 2           Based upon the representations of counsel, the record in this case, and the
 3   agreements and stipulations between all counsel in the case, the Court makes the
 4   following findings:
 5           The Court finds that the ends of justice in this case in granting this continuance
 6   outweigh both the public’s right and each defendant’s individual right and the
 7   defendant’s joint right to a speedy trial in this case;
 8           The Court finds that the record in this case and the case itself supports a finding
 9   that time shall be excluded under both local codes E for the pending motion and
10   Local Code T-4, adequate and reasonable time for preparation, which corresponds to
11   Title 18 U.S.C. sections 3161(h)(d) and (h)(7)(b)(iv), respectively, of the speedy trial
12   act. Counsel for both parties stipulate that the ends of justice are served by the Court
13   excluding such time, so that counsel for the defendant may have reasonable time
14   necessary for effective preparation, for reviewing the discovery in this case, for
15   discussing with the respective clients the discovery and the facts of the case, and for
16   the investigation and legal research needed to be done on the potential complex issues
17   regarding the Advisory Sentencing Guidelines regarding any potential sentence,
18   including but not limited to the criminal history of the defendants, taking into account
19   the exercise of due diligence, and to prepare for the pending motion appealing the
20   Magistrate ruling on detention, and therefore time shall be excluded under Title 18
21   U.S.C. section 3161(h)(d) and Local Code E (pending motions) and Title 18 U.S.C.
22   section (h)(7)(b)(iv) and Local Code T-4.
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 1         The Court sets the hearing on the motion to appeal the Magistrates ruling of
 2   detention to Thursday, September 5, 2013, at 9:00 a.m., and vacates the hearing
 3   date of Thursday, August 8, 2013.
 4         IT IS SO ORDERED.
 5 Date: August 05, 2013
 6 _____________________________________
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                                         ___________________________________________
 8                                       MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                         UNITED STATES DISTRICT COURT
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